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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )   No.  12 CR 723
      v.                                    )        13 CR 703
                                            )        15 CR 487
                                            )   Honorable Matthew F. Kennelly
ADEL DAOUD                                  )

     GOVERNMENT’S REPLY TO DEFENDANT’S RESPONSE TO
  GOVERNMENT’S RESPONSE TO COMPEL, IMPEACH UCE AND CHS,
           AND DISMISS CONTINUED - CONTINUED

      Defendant Adel Daoud accuses the government of manipulating the Kankakee

recordings between him and the CHS because agents listening live would on occasion

turn off the recording device. Dkt. #536.

      As addressed in the Government’s Response to the Defendant’s Motion to

Compel (Dkt. # 528), the government explained the circumstances surrounding the

Kankakee recordings of the defendant and his cellmate. In short, agents listening to

the conversations live would, on occasion, turn off the microphone in the cell and stop

listening. When the microphone was turned off, the conversations were not recorded.

After a period of time, agents would turn the microphone/recording device back on

and resume listening. Agents labeled recorded conversations as either “pertinent” to

the investigation and “non-pertinent.” At night, the recording device was left on, the

recordings were not listened to live but were reviewed at a later time.

      The defendant appears to be questioning why the agents turned off the

recording device at all if non-pertinent conversations were recorded. This happened

for two reasons. First, the government’s authority to record the defendant was based

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on consent of the defendant’s cell mate. If the cellmate did not appear to be in the cell,

the agents were required to turn off the microphone/recording device and stop

listening. See Dkt. #528, Ex. B (“Due to the possibility of over collection or under

collection of consensual monitoring, at approximately 1pm on 11/23/2012, Agents

were   directed   to   ‘spot   check’   every   15   minutes   during   the   times   the

monitoring/recording was turned off to determine if the CHS and Daoud were

physically in the cell.”). The agents also, at their discretion and on occasion, turned

off the recording device and stopped listening to the conversation if nothing pertinent

was being discussed. In either circumstance, agents would then, after a period of time,

turn the microphone and recording device back on, and resume listening.

       The defendant seems to imply that the government never turned off the

recording device. The defendant states in his filing that “the parts that are missing

are marked on a linegraph provided by the government. Example, among many, see

sessions 14 – 19 for 11/23/12, by the times given, you can see the times that were

skipped.” The defendant appears to be referring to Dkt. #528, Ex. E, p. 15.

       The “parts that are missing” are the times when the recording device was

turned off. For example, according to the line sheet, agents noted “television sounds.

A movie or tv show” for session 14, which lasted one minute and 37 seconds, and “spot

check” for session 15 (11 seconds) and session 16 (35 seconds) (Dkt. #528, Ex. D). The

line sheets corroborate that government’s point – the agents, on occasion, turned off

the recording device and stopped listening.




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      The defendant has the recordings. He has the agents’ monitoring log (Dkt.

#528, Ex. A). He has the agents’ line sheet which identify each session, the start and

stop time, the duration of the session, whether the session was marked as pertinent

or non-pertinent and notes, if any, taken by the listening agent. (Dkt. #528, Ex. D).

He has a spreadsheet (identified by the defendant as a linegraph) that lists each

session, the start and stop time, the duration of the session and whether the session

was marked pertinent or non-pertinent (Dkt. #528, Ex. E). He has transcripts created

by the government of the most relevant conversations. The government has explained

why, on occasion, the agents would turn off the recording device and stop listening.

      He has not presented any evidence to support his position that the government

has additional recordings. He has not presented any argument that there were

exculpatory conversations between him and his cellmate during the times when the

recording device was turned off, nor has he identified a single conversation within

the recordings that contain exculpatory conversations.

      The defendant has exhausted the Kankakee recording issue. The Court should

deny his motion.




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                                   Conclusion

      For the above reasons, the defendant’s Motion to Compel, Impeach UCE and

CHS and Dismiss, continued-continued (R. #536) should be denied.

                                           Respectfully submitted,

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